Case 5:18-cv-06147-BCW Document 26-3 Filed 11/07/18 Page 1 of 11
                                                           EXHIBIT 3
Case 3:17-cv-01852-MAS-TJB Document 60 Filed 12/18/17 Page 1 of 2 PageID: 909



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

NEWMARKET
PHARMACEUTICALS, LLC,

                                  Plaintiff,
                                               NOTICE OF CROSS-MOTION TO
                                                        DISMISS
                      v.
                                                Civil Action No. 17-01852 (MAS)
VETPHARM, INC., DENNI O. DAY,
                                                              (TJB)
and PRELUDE DYNAMICS, LLC,

                               Defendants.


           PLEASE TAKE NOTICE that upon the accompanying Memorandum of

Law, dated December 18, 2017, and the Declaration of Denni O. Day, dated

December 18, 2017, and the Declaration of Meghan K. McGuire, dated December

18, 2017, together with the exhibits attached thereto, and all other papers and

pleadings filed herein, Defendants VetPharm, Inc., and Denni O. Day

(“Defendants”) will cross-move before this Court on a date and time to be

determined by the Court, as set forth in the Scheduling Order, dated December 12,

2017 [Dkt. 54], for an Order, pursuant to the Federal Arbitration Act, 9 U.S.C. § 1

et seq., and Fed. R. Civ. P. 12(b)(6) dismissing Plaintiff NewMarket

Pharmaceuticals, LLC’s Complaint this Action [Dkt. 1] with prejudice, and

awarding Defendants the costs and fees associated with this Motion and such other

and further relief as the Court deems just and appropriate.


4812-3295-2153.1

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                                                         EXHIBIT A (Lang Decl.)
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           PLEASE TAKE FURTHER NOTICE that Defendants hereby requests

oral argument if this motion is opposed pursuant to New Jersey Local Rule of Civil

Procedure 78.1.

Dated: December 18, 2017                       NIXON PEABODY LLP

                                           By:_____/s/Daniel C. Gibbons_____
                                              Daniel C. Gibbons
                                              Christopher D. Thomas
                                              50 Jericho Quadrangle, Suite 300
                                              Jericho, NY 11753-2728
                                              Phone: (516) 832-7567
                                              Facsimile: (866) 568-3660
                                              dgibbons@nixonpeabody.com
                                              cdthomas@nixonpeabody.com
                                              Attorneys for Defendants VetPharm,
                                              Inc. and Denni O. Day




4812-3295-2153.1

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https://www.njportal.com/DOR/businessrecords/EntityDocs/StandingCerts.aspx (last checked 11/06/2018)


                                                                                EXHIBIT B (Lang Decl.)
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Lang, Greer S.

From:                              Lang, Greer S.
Sent:                              Wednesday, October 31, 2018 9:01 AM
To:                                Pollaro, Robert
Cc:                                Fields, Brian W.; 'Shanks, Brett A.'
Subject:                           RE: Amended Temporary Restraining Order.DOCX
Attachments:                       Stipulation and Proposed Order (RPollaro) (gsl edits) (2).docx


Robert, 
 
Thank you for preparing an initial draft of the stipulation and proposed order. We certainly agree to the two extensions 
noted in paragraph 1. However, we cannot agree to limit the TRO to just the distribution rights granted to 
VetBridge.  The Agreement is much broader than that (it precludes NM’s transfer of assets and IP related to the product, 
granting security interests, etc) and the purpose of the TRO is to protect VetBridge’s right to specific performance under 
the change of control provisions. We are certainly willing to make clear that the prohibitions are limited to the Field and 
Territory, as defined in the Agreement, and leave in the negative (of what’s not prohibited) as you requested; provided 
the order expressly state that nothing relieves either party of their rights, obligations or liabilities under the Agreement. 
 
We will not agree that VetBridge or its attorneys are to be enjoined from communicating with VetPharm. Your client has 
sought to try to make issues concerning VetPharm part of this action – though they have nothing to do with any of 
VetBridge’s claims – and we are not going to have an adverse party dictating who we can and cannot speak to as part of 
our investigation.   
 
This issue was not raised during our call with Judge Wimes – and NewMarket has never filed a motion for a TRO or 
sought any kind of injunctive relief in that regard. It is our position that this new request is inappropriate and seeks to 
interfere with us performing our obligations as counsel. We will not agree to this new request, so if you intend to insist 
on including it, then we need to get the Judge’s clerk on the phone and get our preliminary injunction motion set for a 
hearing.  
 

Greer S. Lang
Partner
Lathrop Gage LLP
2345 Grand Blvd., Suite 2200
Kansas City, MO 64108-2618
Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001
glang@lathropgage.com

From: Pollaro, Robert [mailto:Robert.Pollaro@cwt.com]
Sent: Tuesday, October 30, 2018 4:57 PM
To: Lang, Greer S.
Cc: Fields, Brian W.; 'Shanks, Brett A.'
Subject: RE: Amended Temporary Restraining Order.DOCX
 
Greer, 
 
The formatting on the Stip and proposed order is corrected in the attached.  According to Judge Wimes’ rules we need 
to have this filed by the end of the day tomorrow. 
 
Regards, 

                                                              1
                Case 5:18-cv-06147-BCW Document 26-3 Filed 11/07/18 Page 5 of 11
                                                                                 EXHIBIT C (Lang Decl.)
 
Robert 
 
From: Pollaro, Robert  
Sent: Tuesday, October 30, 2018 2:33 PM 
To: 'Lang, Greer S. (LG)' <glang@lathropgage.com> 
Cc: Fields, Brian W. (LG) <bfields@lathropgage.com>; 'Shanks, Brett A.' <brett.shanks@stinson.com> 
Subject: RE: Amended Temporary Restraining Order.DOCX 
 
Greer, 
 
Attached is the proposed filings further to our call.  Please let me know if you would like to discuss. 
 
Regards, 
 
Robert 
 
From: Lang, Greer S. (LG) [mailto:glang@lathropgage.com]  
Sent: Monday, October 29, 2018 11:50 AM 
To: Pollaro, Robert <Robert.Pollaro@cwt.com> 
Cc: Fields, Brian W. (LG) <bfields@lathropgage.com> 
Subject: Amended Temporary Restraining Order.DOCX 
 

Robert 
 
Here is the word version of the amended tro.  

Greer S. Lang
Partner



Lathrop Gage LLP
2345 Grand Blvd., Suite 2200
Kansas City, MO 64108-2618
Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001
glang@lathropgage.com
lathropgage.com
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be free of any virus or other defect that may affect any computer system into which it is received and opened, it is the 
                                                                          2
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IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         ST. JOSEPH DIVISION


VetBridge Product Development Subsidiary I       )
(NM-OMP), LLC,                                   )
                                                 )
               Plaintiff,                        )    Case No. 5:18-cv-06147-BCW
                                                 )
vs.                                              )
                                                 )
NewMarket Pharmaceuticals, LLC,                  )
                                                 )
               Defendant.
                                                 )


                            STIPULATION AND [PROPOSED] ORDER

       IT IS STIPULATED AND AGREED by the undersigned counsel for Plaintiff VetBridge

Product Development Subsidiary I (NM-OMP), LLC (“VetBridge”) and Defendant NewMarket

Pharmaceuticals, LLC (“NewMarket”), subject to approval of the Court that:

       1.      NewMarket’s Answer and answering brief regarding VetBridge’s Motion for
               Hearing (Doc. No. 12) will be due no later than thirty (30) days after the Court’s
               decision on NewMarket’s Motion to Change Venue (Doc. No. 8).

       IT IS ORDERED, ADJUDGED, AND DECREED that Defendant NewMarket, together

with its officers, managers, members, agents, affiliates, attorneys, and employees, and all other

persons in active concert or participation with them, are hereby enjoined and restrained from:

       2.      pPledging, encumbering, assigning, transferring, disposing of or otherwise
               conveying or granting any rights or interest in or to:

                (a) the right to distribute NewMarket’s rapidly dissolving formulations of
                    omeprazole, including omeprazole direct systemic introduction (DSI)
                    compositions for use in all non-human animals, including any revisions,
                    alterations or improvements thereto (the “Omeprazole DSI Products”); and/or

                (b) NewMarket’s IP/Patent Rights relating thereto, including all patents and
                    patent applications, and all divisionals, continuations, continuations-in-part,
                    counterparts, re-examinations, reissues, extensions, registrations, and
                    supplementary or complementary certificates and the like, both domestic and



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                   foreign, and items which claim the benefit of priority to any of the foregoing,
                   whether in whole or in part, directly or indirectly owned, licensed, and/or
                   optioned (with the right to grant sub-licenses) by NewMarket or an affiliate
                   thereof, as of the Effective Date (July 27, 2014) of the Exclusive Distribution
                   and License Agreement (“Agreement”), or during the term of said agreement,
                   which relate to the Omeprazole DSI Products, and their development,
                   manufacture, or use in the Field and in the Territory, as defined below,
                   including the following:

                 Item    Country Patent Application       Filing Date         Title
                                     or Patent No.
                   1     US      61/437763             01/31/2011
                   2     US      13/343,692; issued as 01/04/2012;     Animal treatments
                                 8,722,636             issued
                                                       05/13/2014
                                                       05/12/2014;    Animal Treatments
                                 14/275,019; issued as
                   3     US                            issued
                                 10,022,361
                                                       07/18/2018
                                                       05/12/2014;    Animal Treatment
                                 14/275,031; issued as
                   4     US                            issued
                                 9,402,835             08/02/2016
                   5     WO         PCT/US2012/020242        01/04/2012       Animal Treatment
                   6     US         61/674,435               07/23/2012
                   7     US         61/678,355               01/08/2012
                   8     US         61/641,509               02.05.2012
                   9     WO         PCT/US2012/070031        12/17/2012       Pharmaceutical
                                                                              compositions for
                                                                              direct systemic
                                                                              introduction
                   10   US         14/398,085              10/30/2014
                   11   US         16/014,290              06/21/2018



               2.(c) The restrictions specified in ¶¶ 2(a) and (b) are expressly limited to in tthe
                   Field Field (defined as “the veterinary use of rapidly dissolving formulations
                   of omeprazole in all non-human animals including especially horses and
                   other equine animals) omeprazole direct systemic introduction (DSI)
                   compositions for use in non-human animals including especially equine
                   animals) within theand Territory (defined as “the veterinary market in the
                   United States of America including all of its states, districts, territories, and
                   possessions, including the District of Columbia”) covered by the Agreement.

       Nothing in this ORDER shall prevent NewMarket from pledging, encumbering,

assigning, transferring, disposing of or otherwise conveying or granting the right to distribute

NewMarket’s rapidly dissolving formulations of omeprazole outside the Field and/or the


                                    2
       Case 5:18-cv-06147-BCW Document 26-3 Filed 11/07/18 Page 8 of 11
Territory. Nor shall anything in this ORDER relieve either of the parties of, or in any way be

deemed to constitute a waiver, estoppel or release of, any of their rights, duties, obligations or

liabilities under the Agreement. This ORDER shall remain in effect for a period not to exceed

thirty (30) days from this Court’s decision on NewMarket’s Motion to Change Venue (Doc No.

8) or, if not granted, from this Court’s decision on Plaintiff VetBridge’s Motion for Hearing

related to its request for a preliminary injunction (Doc No 12) and its request for a preliminary

injunction, as set forth in its Verified Petition (Doc. 1-1 at 16-23).

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that VetBridge together

with its officers, managers, members, agents, affiliates, attorneys, and employees, and all other

persons in active concert or participation with them, are hereby enjoined and restrained from

communicating with VetPharm, Inc. (“VetPharm”) together with its offices, managers, members,

agents, affiliates, attorneys, and employees and all other persons in active concert or participation

with them. VetBridge will notify NewMarket of any communications it sends or receives from

VetPharm and will provide any such communications to NewMarket in whatever form sent or

received by VetBridge.

       Respectfully submitted,

       [SIGNATURE BLOCK FOR EACH]



       IT IS SO ORDERED.




Date                                                   Circuit Court Judge

 




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Lang, Greer S.

From:                             Pollaro, Robert <Robert.Pollaro@cwt.com>
Sent:                             Monday, November 05, 2018 10:41 AM
To:                               Lang, Greer S.
Cc:                               Fields, Brian W.; Shanks, Brett A. <brett.shanks@stinson.com>
                                  (brett.shanks@stinson.com)
Subject:                          RE: Stipulation and Proposed Order (rev. 11-02-2018).DOCX


Greer, 
 
Without any prejudice or disclaimer, NewMarket maintains that any communications with VetPharm by anyone at 
VetBridge or associated with VetBridge will necessarily be turned over to the FDA/CVM.  We remind  you of your 
obligation to preserve any and all such communications.   
 
You have my permission to file and submit the proposed order. 
 
Regards, 
 
Robert 
 
From: Lang, Greer S. (LG) [mailto:glang@lathropgage.com]  
Sent: Monday, November 5, 2018 11:23 AM 
To: Pollaro, Robert <Robert.Pollaro@cwt.com> 
Cc: Fields, Brian W. (LG) <bfields@lathropgage.com>; Shanks, Brett A. <brett.shanks@stinson.com> 
(brett.shanks@stinson.com) <brett.shanks@stinson.com> 
Subject: RE: Stipulation and Proposed Order (rev. 11‐02‐2018).DOCX 
 
Robert, 
 
Attached is a clean copy of the Stipulation and [Proposed] Order. We have agreed to your edits, and added signature 
blocks for counsel. Please confirm that I have your permission to file and submit to the Court, as it was not clear from 
your email. 
 
Regarding your request regarding VetPharm. The refusal is not my client’s. It is mine. We understand your position; 
however, you have made certain allegations in your communications to me and in filings with the court regarding 
VetPharm. We cannot and will not  agree to limit our ability to investigate and defend the assertions made against our 
client.   
 
 
 

Greer S. Lang
Partner
Lathrop Gage LLP
2345 Grand Blvd., Suite 2200
Kansas City, MO 64108-2618
Direct: 816.460.5511 | Mobile: 785.691.6155 | Fax: 816.292.2001
glang@lathropgage.com



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               Case 5:18-cv-06147-BCW Document 26-3 Filed 11/07/18 Page 10 of 11
                                                                               EXHIBIT D (Lang Decl.)
From: Pollaro, Robert [mailto:Robert.Pollaro@cwt.com]
Sent: Monday, November 05, 2018 9:46 AM
To: Lang, Greer S.
Cc: Fields, Brian W.; Shanks, Brett A. <brett.shanks@stinson.com> (brett.shanks@stinson.com)
Subject: RE: Stipulation and Proposed Order (rev. 11-02-2018).DOCX
 
Greer, 
 
NewMarket asks you to reconsider your client’s refusal to communicate with VetPharm and have the appropriate 
language included in this proposed Order.  As you are well aware, NewMarket views any communications with 
VetPharm as improper for the reasons we have discussed at length and must also be turned over to the FDA/CVM.   
 
Should your client refuse to agree to refrain from all communications with VetPharm NewMarket is agreeable to the 
attached being filed with the Court.   
 
Regards, 
 
Robert 
 




       

                                                                                                                      
                                                                                                               
                                                         . 
 

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